           Case 2:24-cv-00582-AC Document 3 Filed 03/04/24 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                      UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11       RAYMOND ALFORD BRADFORD,                          No. 2:24-cv-0582 AC P
12                         Plaintiff,
13             v.                                          ORDER
14       G. SPANGLER, et al.,
15                         Defendants.
16

17            Plaintiff, a state prisoner proceeding pro se, has filed a civil rights action pursuant to 42

18   U.S.C. § 1983. Plaintiff has not, however, filed an in forma pauperis affidavit or paid the

19   required filing fee of $350.00 plus the $55.00 administrative fee. 1 See 28 U.S.C. §§ 1914(a),

20   1915(a). Plaintiff will be provided the opportunity either to submit the appropriate affidavit in

21   support of a request to proceed in forma pauperis or to submit the required fees totaling $405.00.

22            In accordance with the above, IT IS HEREBY ORDERED that:

23            1. Plaintiff shall submit, within thirty days from the date of this order, an affidavit in

24   support of his request to proceed in forma pauperis on the form provided by the Clerk of Court, or

25   the required fees in the amount of $405.00; plaintiff’s failure to comply with this order will result

26
     1
27     If leave to file in forma pauperis is granted, plaintiff will still be required to pay the filing fee
     but will be allowed to pay it in installments. Litigants proceeding in forma pauperis are not
28   required to pay the $55.00 administrative fee.
                                                         1
         Case 2:24-cv-00582-AC Document 3 Filed 03/04/24 Page 2 of 2


 1   in a recommendation that this action be dismissed; and
 2          2. The Clerk of the Court is directed to send plaintiff a new Application to Proceed In
 3   Forma Pauperis By a Prisoner.
 4   DATED: March 1, 2024
 5

 6

 7

 8

 9

10   Th/brad0582.3a(CDCR)

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      2
